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CIVIL COMPLAINT FORM TO BE USED BY A PRO SE PRISONER

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

2 he
HASSAN A. TUCKER Pb 18f

Full Name of Plaintiff Inmate Number
i ,
civiNo. /2 Z4-CV—- 063 |
V. : (to be filled in by the Clerk’s Office)
JOHN éE. WEITZ EL. PA DOC SEC ¥ : (A_) Demand for Jury Trial
Name of Defendant 1 : (___) No Jury Trial Demand

GEORGE M. LITTLE PAbc secy

Name of Defendant 2

KIMBERLEY Corrections BFFICR i

Name of Defendant 3 : S ARTOn
oe SCRAN
FISHER C/O! Aa 38
Name of Defendant 4 : APR 7)
a. : _— te. a
REESE, C/o i : -_ severe

Name of Defendant 5

(Print the names of all defendants. If the names of all
defendants do not fit in this space, you may attach
additional pages. Do not include addresses in this

section).

I. NATURE OF COMPLAINT
Indicate below the federal legal basis for your claim, if known.

X Civil Rights Action under 42 U.S.C. § 1983 (state, county, or municipal defendants)

Civil Rights Action under Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388
(1971) (federal defendants)

Negligence Action under the Federal Tort Claims Act (FTCA), 28 U.S.C. § 1346, against the
United States

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iN THE UNITED STATES DISTRICT COURT
FOR THE M/byLE DISTRICT OF PENNSYLVANIA

HASSAN A. TuckER “ GPATE

. Civili Ne.

v

Robert Vance, Captain (x) Demand for Sury trial

Name of defendant 6

Pelosi , Hearing Examiner
Name of defendant 7

Nature of Complaint:

Civi Rights Action under 42 45.0, § 1993
Hl.

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ADDRESSES AND INFORMATION

HASSAN A_ TUCKER

A. PLAINTIFF

Name (Last, First, MI)

Doc * GPbibe
Inmate Number

PA D.0.c. SC PACGENIX

Place of Confinement

12 00 Mok ychic Drive

Address
Collegeville, Mon taomery, PA. i942

City, County, State, Zip Code

Indicate whether you are a prisoner or other confined person as follows:
____—“ Pretrial detainee

___——s Civilly committed detainee

____ Immigration detainee

-X. Convicted and sentenced state prisoner

Convicted and sentenced federal prisoner

B. DEFENDANT(S)
Provide the information below for each defendant. Attach additional pages if needed.

Make sure that the defendant(s) listed below are identical to those contained in the caption. If
incorrect information is provided, it could result in the delay or prevention of service of the
complaint.

Defendant 1:
John E, wetzel

Name (Last, First)

Pennsylvania Department of Corrections Secretary
Current Job Title

[920 Te chnalagy Par Kway
Current Work Address

Mechanicsburg , PA. 17050 ( <emeire county)

City, County, State, Zip Code

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Defendant 2:
George Little
Name (Last, First)
Secretary af PA ppc.
Current Job Title
1920 Technolog Y Park way
Current Work Address
Mechanicsbura _Cumbertan d, Pennsylvania, 11056
City, County, State, Zip Code ‘ .

Defendant 3:
Kimberley (tirsd_pame unknown 40 plaintiff)
Name (Last, First)
Correctional officer J]
Current Job Title
| KocKyiew Place
Current Work Address
Bellefonte, Centre, Pennsylvania, 16923
City, County, State, Zip Code ‘

Defendant 4:
Fisher (first name unknown to plaiati fs)
Name (Last, First)
Cerrectiona] Officer |
Current Job Title
i Kockview Place
Current Work Address
Bellefonte, Centre ,femsylvania , 16823
City, County, State, Zip Code

Defendant 5:
Reese (firs + name unknown to plas atit¢)

Name (Last, First)

Correctional Of ficer
Current Job Title

LReck view face
Current Work Address

Bellefonte, Centre, Penn sylvania , L823

City, County, State, Zip Code

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Defendant b:
Robert Vance
Captain at Sci Rock view
i Rock view Place

Bellefonte, Centre, Pennsylvania , 16823

Defendant 7:
Pelosi (first fame UnKnauy to plaintiff )
Hearing Examiner
| RocKyiew Place

Bellefonte, Centre, PA, 4 168.23
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iil. STATEMENT OF FACTS

State only the facts of your claim below. Include all the facts you consider important. Attach additional
pages if needed.

A. Describe where and when the events giving rise to your claim(s) arose.

Ail af the events in this Complaint decurred in fenosylvania’s PLC at Stofe Correctional Losttutions

complaint pages fode )

B. On what date did the events giving rise to your claim(s) occur?

event

Significant evenbalse dccurred on 4-27-20. Me Tucker was in p.0.C. Custody at all relevant Times.

C. What are the facts underlying your claim(s)? (For example: What happened to you?
Who did what?)

On B-J-i4 He Tucker was placed in Restricted housing Unit at SC/ kock view).Mr. TicKer_was
interrogated by SC) RocKviews administration while obec? Vance questioned Fucker about his_reli-

gious beliefs and +hreatened +o pidce Mr Tucker on Kestricted Release Listlindefinitely

solitary confinement) Vance fis cciménato | intarmatia a Misco,
duct report charged to Mr. Tucker +o retaliate for Tucker’ reticence during Vances_interra-

gation. As a cosult ef Robert Vances prejudicial acts Hearing examiner Pelosi demed mr.Tuckers

astate Significant Functional /mpairment, (see attached complaint pages |- 18 for

all facts , chins, reliet )

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IV. LEGAL CLAIM(S)

You are not required to make legal argument or cite any cases or statutes. However, state what
constitutional rights, statutes, or laws you believe were violated by the above actions. If you intend to
assert multiple claims, number and set forth each claim in separate paragraphs. Attach additional pages if
needed.

plaint , pages i-iz far additional infar mation.)

V. INJURY

Describe with specificity what injury, harm, or damages you suffered because of the events described
above.

VI. RELIEF

State exactly what you want the court to do for you. For example, you may be seeking money damages,
you may want the court to order a defendant to do something or stop doing something, or you may be
seeking both types of relief. If you are seeking monetary relief, state your request generally. Do not
request a specific amount of money.

Jjojunctive,declarator: d punitive 4
against the defendants for damages and violations of Rights asserted
herein this Complaint to desist this punishment. (see chment, pages _1b-if)

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IN THE UNifeD STATES DISTRICT CoURT

FOR THE MIDDLE pisTRICT OF PENNSYLVANIA

HASSAN TUCKER
plaintiff, /
é C iVil No.

Vv.

JOUN E. WETZEL, SECRETARY OF THE ~
PENNSYLVANIA DEPARTMENT oF CORREC-
TIONS; GEORGE M. LITTLE, SECRETARY «
OF THE PENNSYLVANIA DEPARTMENT OF JURY TRIAL DEMANDED
CORRECTIONS; CORRECTIONAL OF FICERT. .
SUIBERLET, FISHER, CORRECTIONAL OFFICER;
ESE, CORRECTIONAL OFFICER; ROBERT : 5 uP, ENTAL JT uRyS ay, EDA
VANCE, CAPTAIN, PELOSI. pe tea ae, * SUPPLEMENTAL TURISDICTIN EVAKED
iNER,

defendants.

COMPLAINT
Piaintitf Hassan Tucker, pre se, files this complaint and states as follows:
Jurisdiction and venue
1, This action 4s being bRought under the civil Rigirts Aet of 4Z U.S.C, $1783 which provides
a cause af action ter The depe sation oF any FIGATS , pri vifeges, or immunities secured by The
censtitutien and Laws of the United States.
2, This Honcrable Court has the jurisdiction over these Federal claims pursuant ta 27U5.C. 88
i331) and 1343.
3. This Complaint also sncludes pendant state law claims over which this Honcrable Court has
supplemental jurisdiction pursuant fo 2? USC. 1361.
4. Venue ss proper in tne MIDOLE DISTRICT OF PENNSYLVANIA pursiant fo 2PUS.c. § (591 because
& substartial part ot the events or omissions giving rise te these claims transpired withia the territorial jaris-

diction of this District sand the defendants are subject te personal jurisdiction uithin this District.
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Parties

5. Plaintiff Hassan Tucker is an adult individual who js currently incarcerated at
The State Correctional institution at Phoenix CSci Phoenix’ hereinafter) Iacated gt 1200
MoKychic Drive, Colle geile, FA. 19426,

b. Defendant Sohn €. Wetzel is an adult individual who is employed by the
Commonwealth of Pennsylvania as the Secretary of the Department of Correctians and
maintains effices located at 1920 Technology Parkway, Mechanicsburg, PA. 17050. Defendant Weitzel js being
sued in his individual capacity.

7. DeFendant George M- Little is on adult individual whe ts employed by the Commonweal th
of Pennsylvania as The Secretary ef the Department af Corrections and maintains offices

located at 1920 Technelogy Park way, Mechanics burg, PA .17850, Defendant Little is being sued in
his individaal capacity.
Facts
%. Hassan TucKer has been incarcerated serving a term of Life without
the possibility for parclé since January 2005; in the custody of +he Pennsylvania
department ot Corrections during all times relevant te this matter.

q. in Aprii of the year 2006 Tucker was heused at the State Correctional Institution
(SCi hereinafter)o# Graterford fer classificatian.

in May et the year 2006 Tucker was sent te Sci Camphin’ tor further class; fication
and evaluation hefere being assigned for permanent SC! iocation.

li. During classification and evaluation at $Ci Camphill Tucker was examined by Q Mental
health profession and health care professienals to review preexisting mental health and physical
conditions relevant to Tucker§ individual recovery plan and appropriate heusing.

it, in June of 2006 Tucker was sent to SCi Pallas which was desiqnated as his permanent
housing fecation.

ya. in Suly of 2006 Tucker was psycheicyically evaluated and prescribed Zoiott to treat
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Parties

To. Kimberley, Correctional officer, is an adult individual who has been
employed by the Pennsylvania D.0.C at all times pertinent to this com-
plaiat and is being sued in his ind, vidual capacity. (first name unKnown)

7b. Fisher, Correctional officer, 15 an adult individual whe has been employed
by the Commonwealth of Pennsylvania's Department of Corrections at
SC] Rock view during all times pertinent to this complaint and is
being sued sn his individual Capacjty.(first name Unknown to plaintiff)

7.¢ Reese, Correctional officer at SCI Rockview, j5 an adult individual who
has been employed by the Commonwealth of Pennsylvania's Department of
Corrections during all times pertinent to this complaint. (first name 15
unknown to plaintiff), Reese is being sued in his jndividual Ca pacity.

7d. Robert Vance,Correctional officer/captain is an adult individual who has
been employed by the Commonwealth of Pennsylvania’s peparfment of
Corrections at SCI Rock¥iew during all times relevant to this Complaint.

ee Pelosi , Hearing Examiner, is an adult individual who has been employed at SC/
Rock view jn the Commonwealth of Pennsylvania’ Department of Corrections
during all times relevant to this complaint and is being sued in her individual

capacity. ( Pelosis Fiest name 15 unKnown +o plaintiff).

Pg aa
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diagnesis of depression, anxiety, and related disorders,

4. Upen evaluation oF TuckKers mental health and medical records containing all

OF his signticanT mental and physical impairments, D.0.C. officials iearned of all preevisting disabilities.

iB. Tucker was born with severe asthma and frontal lobe damage oF the brain.

o. Tucker has a history of suicidal vulnerability that dates as far back as (996.

.
eed ac a

i7, TucKer has a history of losing consciousness due to concussions sufi

child as well as byperventillation during severe asthma attacks,

iz Tucker was remnants ef fated medical 2ouipment Ciaternal fixator) attached +o the
largest beae in his boayCtemur)from 1 oF 3 operations required as aresyi? of mult) ple gunshot

fh

wounds sustamed at iByears oF ag
at PimesS, a5

4. Tuckers Keds lack full range af motion and his Knees and back fall 4

a vesuit of gunshot weunds and sciatica.

20, Tucker nas atitany of mental and physical ;mpaicments thot D.0.c. official ave aware of

yet they have been indifferest,

4°
Al.

i Tucker has been impreperly assigaed housing unit placements,

t- i pop fe “.oo48 a a iS
2erS af rng AMT Masar@oks fa

az. Prisoners with impairments wrich make living on higher bi

their safety are assigned to pertom bunk /aertom tier Status

23. During the month of Apel, 2017 fost conserausness and fell pead-ferst from tre tap
tier of F-biock at SCi Dalias, 48 & result af improper cell assfqonmenT, 20 feet above ground jee;
2 emergency F9em where tre wend vhop his head

24. Tucker was taken to Geisituer choice

ied with FT staples,
— i ie 63 - : - 4 4 i ; axa : oTTam,
25, TucKer has been banausic ina the affermath et fhe traumatic erdeal,ana assigne? eT

OiT Folle wins Accusutions of asseulr made agains Tucker br a prisoner named

ay. in August 20)
Leveings, Tucker was issued &@ misconduct report.

Qi. Tucker hada hearing For the misconducl repert presided aver iby Hearing Examiner

aa
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22. Tucker was found gurity and sancticned to 9) days in solitary continemerT jn SCI Dallas’
Restricted Heusing unit CRED).

ag. Despite having 4@ days te arrange a transfer to another SCj as Tucker served

a G0day sanction for assault, when Tucker sanction cencluded in Movember of 2617 DAC.
officials Kept Tucker in virtual jsalation in the REU for twe additional months oF odininistrative
Custedy Pending transter ta SCi Rock view.

30.in the manrh of January 201% Tucker was Transferred ty Cot Rack view, after

Spending his first i2 years in DOC custesy at SCH Dallas.

gi in September of 2017 while in the RHV af SCi Dallas, Tucker was diagnosed
with anxiety attriouted to difficulty adapting to conditions of Solitary continement.

Shin August Plef 201 Tucker was placed in solitary confinement under investioation,
for an incident where an inmate was assaulted.

ge, Onthe 137" of Auge? 20:9, Tucker was issued a misconduct tor assaulting the
prsener tho informed the reporting officer (Captain Raber? Vance) that Tucker was not> respoagibl e

for Wis iejury.
.: AouubFh a aca me . io. 4 i wi
A4. On August ie? 2049 Tucker submirred torms ctor Sumewnarey aiThesses ta the Eitl

' » oo .¢ am . ascites itl 1 3 boy * % 2
peutesoe tb at 6:30 Copproximately 3 ishant Signed The forms request iny witnesses and peecessed them.

a5 4 et seth Turkee Be spread ; ff : «
35. On Axgast isthe Tucker attended a misconduct hearing presided by Hearigg Examiner

Peiosi whe refused haacr Tucker's requested witnesses; including the prisaner whe was ynjeured and

informed D.C. officials that Tucker was not respenviae far tes Pyar y.

a i *%
wet og ageajecr sp cbr pee mnpats Hee BP Plog Blt sie é t sr ‘ ’
4b, UA Auaus: PO” OF 20r¢ Hearing Examiner Feles; Sanctions fucker fe (529 ays af

ws

—

disciplinary Cusredy despite a preponderance cr évi dénce GNF wirnesses ja |

=
T

yckKers faver.

‘ _4 st aatda vyie bilge . i * pie ai 7} af “ ee oe
31 Bn August 1° ZOit, Tucker was escorted te the security department in sei

Kockwrew and ceatraared by the prisans enrire adminiatratian © warden, JeparTigs,
Mars, r Aprain ey i RENT. Copeeont. ¢ cis \ + Q em as b / .
tyers, COprasa leutenany, Sereecnt, ana Cf), at approximately,

3¢.0n August i? 2017 at approximately gi” during the interrogation, Tucker
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was asked by Captain Vance ," Do yod want to 0 on RRL?”

34. Tucker was asked by Vance, Are you in a gang? To which TycKer replied “No

40. Vance asked Tucker, ‘are you a mislim?” and Tucker stated, “Yes”

Hi. oC) RoeKviews admaistration had decided te Sura “ay gincenpg! tke “Tanker
on August 1%, approximately 2 weeks prior to previaing the misconduct Report er
Hearing where Hearing Examiner Pelosi would determine guilt,

4 pei ' ay ii aM ns

12.Captain VYane2 wrote additiony| itftormatien* Tuckers misconduct report? such as his CTucker$)

Life sentence which js jmplicative ef Tuckers conviction and highly prejudicial to the Hearing

exammers ability to render an impartial verdict.

Re naval I Ploxement an Restricted Release
43, Restricted Release List status is the most severe extent of constraint jn the
Pennsylvania Department of Correction,
W4. Restricted Release ListCRRL) iS a status of indefinite sautary Confinement.
45, (On November iv,20/7, Tucker was assigned/approved for RRL piace ment a5 he was
Serving @ 150 day sanction on disciplinary custody (Dc status)in SCi RecKviews RHU.

4b. Tucker was precluded from participating in any Proceedings required betore being placed

47, TucKer did not receive any notice to inform him that RRL status was geiag te be soughT
for him.
4”. Tucker was not offered any Opportunity Te Contest the RRL placement or propound any
any input or informatian on his behalf,
44.0n {1-26-17 Tucker received a 0.0.6. document (bc-i4/ part | #P 42705/) notifying him
that he was placed on Adminstrative Custody Status because “verified threats have been made against
inmate Tucker by inmates in yeneral pepulation.

50. Tucker$ isa day Sanction 0 the RHVU expired on 3272-44.

Ww
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al.On or about i-2-20 Tucker was escorted fo a Program Review Comm,ttee heariag
where was jnformed for the first time +hat RRL status had been applied for by SCi Rack views
superintendent and approved for Tucker by D.0.C. secretary Wetzel on November 17,2019,

52. SCI Rock views application submitted to Secretary wetzel required a vote sheet which
is vated on by Rock views, 2 Deputy Superintendents, Superintendent; as well as the Central Regional Director and
deputy Secretary, before Wetzel makes the ultimate decision to place Tucker on the RRL.

53, During Tucker’ attendance ata Preqram Review Committee (PRC Hereinatter) hearing vonducted a?
November of 2019, Deputy superintendents M.fouser and McMahon were apart of the committee; and did
net inform Tucker that RRL status was being s¢ught ter him or thot RRL status had been approved after
they had veted if favor of RRL placement? for Tucker.

BY. Tucker was informed by Deputy Houser that RRL status cannot be appealed, during & PRC
Rearing held in January of 2020.

bb. Secretary of the D.O.C. is the soie decision maker to ultimately decide to assign,continue,

or remove Tuckers RRL status.

_Conditians of Con¥ inement

5. RRL status requires Tucker #o remain hoysed in the RH which is @ security Level }
CSL5 hereafter )pousing unit recently recognised as indecent for Capital case prisoners.

87. En the RYU Tucker is contined Te a small container for 22-24 hours a day.

BS. The small space where Tucker is Kept for 22-24 heurs daily has a metal teilet, stesi, desk, cabinet,
and tep- bunk bed, which deastically restricts his ability ta move around for exercise or even sid upright tn bed.

9. Tucker’s completely iseiated trem ail physical contact or interaction with other people, including
bit net limited te, other prisoners, statf, relgicas advisers, iegal counsel, triends, or -ramityCimmediate family) visitors,

bo. puCKer iS handcuffed and shackled whenever exiting his cell to ge anywhere aside of of outside
oF the prison.

bi. Tucker remains shackled to stationary iron cages or gates with bis hands cuffed and belted

te Wis waist for hours os he attends screen yideo visits, official legal visits, and law jibrary, alone in secured
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rooms.

bl. sifce August 1,404 Fucker has been subjected to the foslowing inhumane reat meat
and deprivations which impose immediate and pernicious significant atypical hardship bayond far mal
prison jite in the general pepulat ion of Pennsylvanias State Correctional institutions:

aiTucker’s ceils in Rockviews RAV were windowless and iis cell assignments in SCH Phoenix are
obfuscated with tint to prevent any view beyond the container he spends virtual the entire day inside
of everyday.

b.Tuckers cells have been illuminated 24 hours/7days a week by powerful florescent lights causing
sleep deprivation, disorientatien, deterisration of visual acuity, and unawareness concerning day wmich iahibits
Tucker ability to qdhere to religious he fiefs reguiring prayer te be performed during their prescribed Fimes.

&. Tucker has had to endure very ioud noise created by prisoners as well as correctional officers,
which is constant and consistent with the RHU.

d. Tucker has been housed with prisoners suffering with severe mental illnesses(Smi" ) when
collect boaily waste (feces, urine, semen, hicod. vomit) ond speiled food, to throw out of their food aper tures and
underneath the bottom of the dosrs as well as smearing it on the walls,and ventiiletion screens,

e. The is ne iong water hose or direct seurce of water fo properly clean the waste from the cells
or surrounding areas so the waste runs inside of Tuckers cell or gets slung beneath his docr when inmates
from general population (wearing haz mat protective gear) attempt to mop up the bodily waste.

#. Tucker is compelled te move to a different cell avery GW aays and has been placed inside of
cells laden with cemaants of bodily waste on every part including the bed and food aperture, and
ventilation as well as the water fountain.

g. Tucker been denied cleaning supplies (disinfectant, rays, or forlet brushes, etcetera) te attempt
to sterilized the cells he was confined to for 23 hours a day (24 heurs on weekends) for 90 days at a time.

h.iucker was denied basic issue clothing such as socks, underwear, and under shirts (afforded ta

general population priseners) because the tailer shop / iaundr y Supervisor dees nut deliver +o SL5

housing units.
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I Several times (and as recently as uly’ 30,202/) during Tucker solitary confinement at
sci> Rack view and Phoenix, staff deployed and weaponized strong chemical spray trem canisters
as large as fire extinguishers +9 extract a single SMI prisoner or problematic prison in close
proximity to Tucker ,whd is asthmatic; without any way to escape the fumes or any
exhaust system to dispel the sutfocatingly obnoxisus sproy which permeated his ceil.

Jj. Tucker has been deprived of the institutional laundry service available alf general peoulaticn
prisoners, leaving him neo cho:ce other than to handwash his clothing and bedding Cincluding blanket /uiit)
with a water fountain; and a sink thet only hotds abaut | yallon of water at one time.

K, Tucker has been extremely restricted from possessing personal property ; being limited to
two pairs of underclothes, one religitdS book, and writing paper. Tucker can not Keep any mail,
pictures, leisurely (;terature, hygiene areducts, or food that he owned before August 31,2019,

1, Tucker only Keep asmall amount of fegal materials in his cell at one time and snust
exchange one document for one other legal document in arder to retrieve legal material from his
property in storage.

Mm. Corrections officers conduct ceil checks very i5 minutes around the clock , during whick
officers enter the RHU through large iron sliding doors and punch check points on the units walls
+hat beep twice ioudly reverberating thraughost the RHU before Fiashing a bright LED Flashlight
directly in Tucker’ eyes.

n. As a resulf of 24 hour noise and lighting Tucker suffers extreme sleep deprivation.

9. Tuckers only oppertuncty to attempt to seek reprieve from severely leng stetches inside ef

the putrid i0 foot by b foot cell is, to be taken to a Kennel~style cage approvimately the same
Size 05 the cell. ;

lnnecessar y and Excessive uscof Force

04. Under the weight ot the brutal conditions of Solitary Confinement in SCi Reckviews
Ril, on Apei] 27" 2020, Tucker attempted fo Comat Suicide by suspended asphyia al approy:

imately ¥:504M in his assigned celf on A- wing of G-blocks RV.
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i. The first officer (cjat Fisher) to respond to the cell for the suicide attempt was
the Subject of a Prisan Rape Elimination ActCPREA) complaint filed by Tucker in March
oF 2020, with SCI RecKviews Security department.

bb. As the first D.0.€. official te ender the cell CBI Fisher cut the bed sheet (from
the 10 foot hich vent) which was wrapped around Tuckers neck and let his unconscious
bedy fall limp to the concrete floor between the to:let and metal bed frame,

bb. Tuckers head hit the floor and he regained consciousness +o feel officer Kneeling on
the back of his head /neck area, twisting his cuffed wrists, and Kneeling on his ankles with
their full body weight as Tucker cemplar‘ned of severe pain.

bf. Tucker was handcuffed behind his back and forced to lay pesterioriy on the gurney
for an extensive period of time until ne arrived at the medical Department where the licensed
Health Care professional ordered officers ta adjust the manacles and their position.

b8. Injury to Tucker neck and wrists were exacerbated by Officers assaultive response
to his Suicide attempt and inditference during transport to the medical department.

6%. C/O Reese recorded the abuse which ensued from Tucker$ assigned cell up until
the Licensed Healthcare provider G.HP) ordered the cessation of the pain being inflicted by the
handcuffs, +o desist additional injuries,

19. The LHP determined that TucKer needed medical care beyond the capabilities oF SC]-
Rockviews medical Lepartment.

Ti, On 427-20 at approximately 9:504" - 10:004% Tucker was taken to MP Wettany
Hospitals emergency room where he was examined by a Doctor whe determined that
he should remain at Mt. Nettany for at least 3 days due to his condition
which included heart trauma, concussion, neck, wrist,and leg bruises;as well as bleed
clots in Ais eyes and hands,

7a.Upen Arrival at SCi* Rockisin) medical department the correctional officers
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attached q Remote Activator Custody Contro] CR.A.C.C.) vest to Tucker$ Torsa which
administers 50,000 volts of electricity when deployed.

73. Officer Reese(clot) recorded as the consequences of remotely activating the
R.A.C,C. were admonished. The ieng ist of reactions to the subjection of 50,000 volts
include inveluntary bewel mavement, organ failure, and possible death

74. Vulnerability +o suicide and self-harm have been defined by Psychiatrists of
The Disability Rights Nefwark of Peansy{vania and recagnised by DOC. @ffjcials as astate of

“significant Functional Impairment”

75. Upen being placed inside of a hospital ream at Mount Nittany officers, Kimberley (cloz)
was assigned to Supervise Tucker.

16.Cfo Kimberley was previeusly reprimanded by Unt Manager Pasquale for
denying Tucker breakfast and the right to Practice his religion upon conclusion of Ramadan in
2018, when Tucker filed a qrievance COC 904 Part 2) regarding the vistatians.

97, C1 Kimberley was armed with a revolver as well as the remate central te
the R.O.C.C. vest thet was placed on Tucker’ body.

78. Cfol Kimberly activated the R.A.C.C. which sent unbearabie electrical currents
through Tucker’ body for several seconds, causing Tucker to iavoluntarily release his bowel,
and grind his teeth until they chippedjas he was handcuffed and shackled ( right wrist/
lef ankle) to the haspital bed,

4. Kimberley sat and brandished the revolver Firearm as he forced Tucker to wait
Several hours to clean the feces frem his body,

20. Kimberley placed TucKer inside of the hospital rooms hathroom (with one entrance /
exit) while Tucker was handcuffed and shackied;and alfewed Tucker ta attempt to clean
the feces from his posterior and nether regions, using wet wipes.

Vl. Tucker ws handcuffed and Shackjed te the hespital bed tor victually three days

straight; even as he attempted te sleep during Convalescence.
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Va. The Correcticaal officer with autonomy away frem the SCi, maintained contrei of
the television in the hospital raom wnere Tucker was Kept; and played the volume stridently
throughoat the aight rendering Tueker§ attem pts to sleep tutiie.

23.0 April 30,2020 upon reentering SC} Reckview, TeKer was Stripped of all raiments
and contined toa cold and fiithy ceil, with no bed mattress, sheets, or security guilt,

94. The cell was located in the Psychiatric observation ward and laden with
bodily waste that permeated the cell with a putrid smell.

95. Tucker was denied any Irferature or institutional provisions to file grievances or
propound dny formal or informal requests fe statf. Qe 135 or DC 904 Fart /)

%. Tucker was denied meals unti! May 4*” 2020( from 4/30/20 ~ 6/4/20).

97, The Psychiatric Observation ceil had a Surveillance camera that alliwed efticers
te watch Tucker writhe in the cold cell utterly exposed.

¥y. Tucker was deprived of the oppertunity to shower from April 277+ 2020 to May
05,2020, while remnants af feces festered on his buttocks and eqs.

81. After receiving his First shower jn 7 days, Tucker was given worn gu¢ hand-me-down
Under garments from a pool of clothes coilected from previous psychiatric inhabitants
who had the ability to wear their clothing while treated similarly regarding hygeine
deprivations.

90. Upon retucning to sc; Rockview an 4/30/20 Tucker informed the psychiatrist that he
did nat feel suicidal,so Tucker should have been released from psychiatric observation ceii (Pil)
within 24 hours.

Wi. On May 07,2020 Tucker was maved from the P.3.C. to the medical housing unit
(mMHW +o quarantine for Covid 17 for the remainder of (4 days required For all prisoners
entering the prison.

42.0n May 13** 2020 Tucker was returned fo the RHU ander worse condjtions than

those which @Xacerbated and overwhelmed Tuckert anxiety, Slough of des pond, ane suicidal
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val aerability.

93, Clor* (officer) Fisher, Reese, sharraw, and others ridiculed Tucker about his
State of Significant functional impairment while housed in the RHU from 5 i320 - 3/30/21
when he was transferred te SCI Phoenix.

q¥. C01 Fisher was assigned to escort Tucker to phone calls, with centre safe PREA
Correspeadents, which were necessary due to CE Fishers PREA violations.

95.C/o I Fisher and his closest co-workers (cfez*® Sharrow, Reese, clot Hunter) encouraged
Fucker to try Kiiling himself again and Fisher stated +o Tucker that he should have let’
Tucker “Die*,

%. Fisher asked other officers Such as Cfors Reese and Sharrow And cfem* Hapyer,
Wagner, and Borlett te deprive Tucker of everything, so the collectively defiried Fuckers
meals; refused to take him to scheduled visits, deny him basic issued cleaning Supplies,
threw way Tackers laundry,and destroyed his stored property in their contra!

97. On 3/3ifz1 , Tucker was Transferred te SCi Phaenix To partake ina purported

Intensive Management Unit CIMU) program, designated for RRL prisoners.

4% There is no Policy or effective procedure to support the iMU which operates

under SL5 housing te maintain extreme deprivations conditions, and treatment.

q7,0n July St" 202), Tucker received a copy ef a mass memo from Secretary \afetzel

addressing all “iM jamates” about the creation of the Cig),

i900, Secretary wetzelé Duly 8" 202i mass memes stated in part,” Your path off
of RRi iS tor you to maintain positive adjustment and obtain Unit team/administrat ions
Support for removal. Final approval currently cemains at the discretion of the Secrejary,

1 Tucker has been placed in the IMU pespite having any former Knowledge of
the IMU or any Due process to be heard or contest placement in such extreme and
restrictive Circumstances indefinitely,

102. Tucker has no miscanduct jp years, nor is misconduct the rationale for his RRL /
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Administrative custody placement.

103. Tucker iS sentenced to Life without Pareles as lang as Tucker is subject Fa the vague
directives concerning RRL/ (MU, he could remain in virtual iselation , enduring These conditions Lar
the rest of nis natural life, imposing abysmal hopelessness.

04, Tuckee 75 in Serious pers] of e@xperremeiag Crizaling psychsisgical impairments for
the rest of his life and will suffer pernicious effects on his mental health as hes continually

held in solitary confinement.

i05. The risks id inherent in indefinite Solitary confinement are well Known and apparent.

iob, At all times relevant to this civil complaint ; defendant Wetzel Knew the harms

Pro pesed by prolonged Solitary Cont inement, yet he fajied to take reasonable action or
measures to end the privation imvosed on Tuckers Sasic Ayman neers.

107, Defendant wetzel has previously testified that he is aware of the body of
Irterature and intermation expounding the effects of hag-term solitary Confinement.

102. dr. Stuart Grassian :3 4 bsard certified Psychiatrist who wat Ga The Face bby
at the Harvard Medical Schoal fer over 25 years. He is a world renowned expert on the

effects of Solitary Continement, and has eytens:ye experience in evaluating the poyematric

effects of solitary continement.
09. Tucker is forced to sir in qreups, wrth severe’: mentally iii (D-code) stabjlity b-code prisoners,

C-code prisoners who are undiagnosed or have had their )-codes dawn graded ar removed, to discuss
tings thxt could be used agains? Tucker in Court, because grou ps Mintertaaw include questions of past
and tuture crimes allegedly committed in violation of the Fifth Amendment of the Pennsylvania
and United States Constitutions while Tucker is handcuffed to a stetionary tale with
uncufted prisoner moving around him in close proxim)ty,
110. Mr. Tucker is Coerced to answer questions of the (MJ ana its pivche-ecucution
program under duress, abext crimes or what Tucker would Je in some Suture criminal

episode asa result of anger, rage,or frustration, :n violation of the Fifth Amens ment
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of the jaitipaimAl Pennsylvania and United States Constitutions,

Mik, During the course of his prefessiang| Career, Or. Grassian has apined as an
expert regarding the psychiatric impact of federal and state segregation and discipli-
nary units.

na. Dr. Grassian’s hody of work was recoqnised by Supreme Court Uustice Anthony
Kennedy in his concurring Opinion in Davis Ayala, 575 YS. 257 297 (2015) "research
still confirms what thes court Suggested over a century ago: Years an end of near total
isolation 2xact a terrible Price. Comman side effects af Solitary cont inement
include anxiety, Panic, withdrawal, hallucinations, self mutiiqtion, and suicidal thoughts

ond behaviers.”).

3. Or. Grassian pas authored, “Psychiatric Effects of Solitary Continement 22
Wash. U.T.L. & Pal'y 325 (2006) and several other scholar! y compilations
regarding the psychiatric effects of Sch tary Confinement:

iY, Defendant Wetzel has previously admitted his particular familiarity with Dr.
Grassians work research and had discussed Dr. Grassian’ findings concerning solitary
Confinement with other doctors,

We. Defendant wretzel bac previsusly a dn:fted that an iamgtes mental bealrs
should be considered when placing an inmate in long term soli tary Cont inement, yer

Tucker has been jnformed by Scl Phoenix Deputy Panasiewic2 and Corrections counselor
smth,as recently as July (4,202) that Secretary Wetzel has continued RRL status for
Tucker and “there are no provision to appeal RRL’, despite mental infirmities, and
psychiatric @ pisodes aS Severe as attempted Suicide by Tucker én April 27,202C,

No. Ma recent years, the use of solitary continemen> laas been publicly condemned.
as excessive and inhumane. When describing the Davis case cited above, Justice Anthony
Kennedy told the House A pprepriations Subcommittee On Financial Services and General Government!

w
ee here f ! ye we i to i ‘ ot aos
This idea of tota! Marceracvian just isnt working, and it not haman€-+r.. Selita y
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Confinement literally drives men mad.”

NZ Six years ago, iM Zoi the department of Corrections acknowledged "the need
to reduce the use of administrative Segregation (identified as Restricted Housing /SL5 in
Pennsylvania ) and vawed its commitment to doing this.

8 Tucker has remained in Solitary Confinement for Over four years (30 consecutive
months) ane counting, with eitery indication that hell remain on RRE regardless af
imental health statf§ and D.0.¢. officials awnreness of Tuckers insidious decline and
maladaptive mechanisms of extreme self-harm as a result of psychalogical suffering

resulting from Forlorn isolation.

ig. On Fastricted Release List status Tucker endures more severe vestriction thay
these recently candemned tor the Capital Case Uaitltcu), which was also an SL5 RH.

126 Capital case unit prisoners eouls get married, while Tucker is prohibited
from marrying his atfianced, Dar sea Smith, as long as he is on the RRL, due to
an unconstitutional policy (DE-AvIA R2i) in Vialation 9 £ the Penesyivania and Unfted
States constitutions First amendments.

2, Tucker, currently housed at SCi Phoenix on the same unit “L- Biock” with
Capital Case priseners, so he is treated as the capital Case prisoners have always been

treated.

CLAIMS

id. Predicated upon the facts herein, Mr, Tucker asserts +he Following claiins

against the defendants for violations of PennsylvaniaS and The United states’
constitutions, as well as Lows and treaties thereo+t:
a. Eighth Amendment Cruel and Unusual Punishment

b. Fourteenth Amendment Due Process, deprivations of equal protection, liberty,
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property,
c. Fifth Amendment violations +0 the United States anal Pennsylvania
constit ut. 10105.
3. Firs? Amendment violatiors te The Voifed States and eonsy] vanji
Constitutions,
Exhaustion af ad) astra;

ia3, Mr. Tucker has exhausted any available administrative reme ayes

for all claims herein.

24. No provisions to appeal RRL status exist.

Relret Regus ested
125. Wheretore, plaintiff, Hr. Tucker requests that the Court grant the following relief:

A, Tssue a, declacatory judgomeet stating that:

i. The prolonged iselation in solrary confinement administered and maintained by
defendants Wetzel and Little,absenf any provision tor pjaintiff Tucker
te contest or appeal RRL placement vislates the plaintitts rights under
the Fourteenth Amendment to the United States Constitutions and the
Pennsylvama Constitution.

a. The indefinite duration and horrendous conditions of confinedment which
defendants ietzel and Little have condemned Tucker, to vielate plaintiffs
rights under the United States Constitution and the Pennsylvania constifatrons

a Eighth Amendment , proh.biting cruel and unusual punishments.

3. Correctien officers Fisher, Kimberley, Sharrow,and Reese physical abusive of
plaintit f Tucker during his state of Significant functiozal impairment,
violated the plaintiffs rights under the eighth Amendment to the
United States Const)tution and constituted an assault and battery

under State laws of Pennsy|vania.

te
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4. The RRL status , having ne appellate provisiens, assianed te Mr. Tucker by deFegdant
Wetzel and maintained by PAD.0.C. secretaries Wetzel and LITTLE, explicitly prehiby $3
Mr. Tucker from marrying his affianced, vidlating Mr. Tucker§ Fiesf Amendment
and Fourteenth Amendment rights to the UNITED STATES and Feansylyania
Constitutions.

5. Campelling Mr, Tucker te participate in purported IMU psycheeducation
grou ps where he is reguired ts divulge ostensive self ince:minatory intormatian
amongst staff and prisoners Curth active criminal mat fers pending) standing
to use the informatien against plainti FF, Creates a vidlation af his Fifdh
Amendment rights 40 the United States and Penasylyania Constitutions

B. Award Compensatory Damages if excess of the Foilowing amaunts:

1.475, 008 Jointly and severally against defendants JOHN E.WéTzEL and GEORGE
M. LITTLE for denial of Due Process regarding the assigament and nature of RRL,
being protracted isolation in indefinite Satitary confinement under severe restric-
Fions and conditions, constituting Cruel and undsual punishment causal of irre-
versible physical and psychological detriments, and deloerate indifference to Mr,
Tuckers significant functional impairment of suicidal vulnerabilities, as well as
First amendmend constitittional prohibitive violation of Mr. Tucker’ Marriage

rights,

2. $90,200 each against defendants Fisher, Kimberley, and Reese for physical
and psychelegical damages inflicted during Mr. Tuckers state of Significant
Functional impairment due to suicidal vulnerability.

3. 470,000 each against Robert vance and Hearing @xaminer, Pelas;, for due Process
violations retaliatory actions, and United States constitution violations of Sixth and
Fourteenth Amendments during partial investigation and fact Finding during

hearing.
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C. Award punitive damages in the Fodlaising amaunt <
1, $30,000 each against defendants Kimberley, Fisher, and Reese ANNECESSAL y
Use af excessive force, abuse , constituting assault and batfery of the

disabled, under Pennsylvania state Jaw.

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VIL SIGNATURE

By signing this complaint, you represent to the court that the facts alleged are true to the best of your
knowledge and are supported by evidence, that those facts show a violation of law, and that you are not
filing this complaint to harass another person or for any other improper purpose.

Local Rule of Court 83.18 requires pro se plaintiffs to keep the court informed of their current address. If
your address changes while your lawsuit is being litigated, you must immediately inform the court of the
change in writing. By signing and submitting the complaint form, you agree to provide the Clerk’s Office
with any changes to your address where case-related papers may be served, and you acknowledge that
your failure to keep a current address on file with the Clerk’s Office may result in dismissal of your case.

Vivian ducky

Signature of Plaintiff

1}. 5-29

Date

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